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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLORADO

Civil Action No. 1:20-cv-03098-NYW

JOSEPH MALDONADO

       Plaintiff,

v.

CITY AND COUNTY OF DENVER,
COLORADO and EDWARD LEGER,
individually and as Police Lieutenant with
City and County of Denver Police Department,

       Defendants.


               PLAINTIFF’S MOTION FOR PRELIMINARY INJUNCTION


       COMES NOW Plaintiff Joseph Maldonado, under Fed. R. Civ. P. 65(a), and moves this

Court to grant him a preliminary injunction enjoining Defendants City and County of Denver and

Edward Leger, individually and as police lieutenant with City and County of Denver police

department, and their agents, servants, employees, attorneys, and persons and entities in active

concert or participation with them, directly or indirectly, from applying and enforcing Denver’s

public forum policy at Red Rocks Mountain Park so as to bar constitutionally-protected speech

occurring on public sidewalks and ways in the park.

       Should Maldonado not obtain a preliminary injunction, he will suffer irreparable harm,

namely, the loss of his rights and freedoms guaranteed by the United States Constitution. In

support of his Motion, Maldonado relies on the following:

       A.      Affidavit of Joseph Maldonado, attached as Exhibit “A”;

       B.      Map of Red Rocks Mountain Park, attached as Exhibit “B”;
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     C.    Denver Public Forum Policy, attached as Exhibit “C”;

     D.    Map of Designated Forum Areas in Red Rocks Mountain Park, per Denver Public

           Forum Policy, attached as Exhibit “D”;

     E.    Photograph of sidewalk staircase at Upper North Lot and sidewalk to Top Circle

           Lot, attached as Exhibit “E”;

     F.    Photograph of sidewalk in front of staircase between Upper North Lot and Top

           Circle Lot, attached as Exhibit “F”;

     G.    Photograph of western edge of sidewalk leading to staircase between Upper North

           Lot and Top Circle Lot, attached as Exhibit “G”;

     H.    Photograph of eastern edge of sidewalk leading to staircase between Upper North

           Lot and Top Circle Lot, attached as Exhibit “H”;

     I.    Photograph of sidewalk on southeast side of Upper North Lot, showing walking

           path, attached as Exhibit “I”;

     J.    Photograph of southeast pathway leading to Upper North Lot, attached as Exhibit

           “J”;

     K.    Photograph of Funicular Hiking Trail leading out from Upper North Lot, attached

           as Exhibit “K”;

     L.    Photograph of Funicular Hiking Trail leading to Upper North Lot, attached as

           Exhibit “L”;

     M.    Photograph of southeast section of Top Circle Lot and adjacent sidewalk, attached

           as Exhibit “M”;

     N.    Photograph of intersection of sidewalks at southeast section of Top Circle Lot,

           facing northeast, attached as Exhibit “N”;
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     O.    Photograph of intersection of sidewalks at southeast section of Top Circle Lot,

           facing south, attached as Exhibit “O”;

     P.    Photograph of designated forum area 1, attached as Exhibit “P”;

     Q.    Photograph of designated forum area 2 from across Hogback Road, attached as

           Exhibit “Q”;

     R.    Photograph of designated forum area 2, close-up, attached as Exhibit “R”;

     S.    Photograph of designated forum area 2a, facing south, attached as Exhibit “S”;

     T.    Photograph of designated forum area 2a, facing north, attached as Exhibit “T”;

     U.    Photograph of designated forum area 3 from across Bear Creek Road, attached as

           Exhibit “U”;

     V.    Photograph of designated forum area 3, close-up, attached as Exhibit “V”;

     W.    Photograph of designated forum area 4, facing south, attached as Exhibit “W”;

     X.    Photograph of designated forum area 4, facing north, attached as Exhibit “X”;

     Y.    Email from Michelle Maldonado (neé Medina) to Marley Bordovsky, attached as

           Exhibit “Y”;

     Z.    Email from Tad Bowman to Michelle Maldonado (neé Medina), attached as Exhibit

           “Z”;

     AA.   Letter from Maldonado’s counsel to Denver officials, attached as Exhibit “AA”;

     BB.   Letter from City of Denver officials to Maldonado’s counsel with attachments,

           attached as Exhibit “BB”;

     CC.   Verified Complaint of Joseph Maldonado; and

     DD.   Brief in Support of this Motion filed simultaneously with this Motion.
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       WHEREFORE, PREMISES CONSIDERED, Plaintiff Joseph Maldonado respectfully

requests that this Honorable Court grant his Motion for Preliminary Injunction.


Dated at Memphis, Tennessee, this 21st day of October, 2020.

s/ Nathan W. Kellum____________
NATHAN W. KELLUM
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Memphis, TN 38117
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Attorney for Plaintiff Joseph Maldonado



                             CERTIFICATE OF CONFERENCE

       Plaintiff presently does not know who will represent Defendants in this matter, as the

current posture of this case is such that counsel for Defendants has not yet made an appearance.

However, in a good faith attempt to confer with opposing counsel regarding this motion as required

under local rule D.C.COLO.LCivR 7.1(a), this office contacted the Denver City Attorney’s Office

and was informed by an assistant city attorney that Defendants oppose the motion.

                                             /s/ Nathan W. Kellum
                                             NATHAN W. KELLUM
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                                  CERTIFICATE OF SERVICE

               I hereby certify that a copy of the foregoing, along with the Complaint and

Summons, has been/will be delivered to a process server for service on below-listed defendants,

this 21st day of October, 2020:

City and County of Denver
Attorney: Kristin M. Bronson
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                                           /s/ Nathan W. Kellum
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